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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

       v.                                             Case No.: 1:21-cr-129

Gabe Garcia.

                        MOTION FOR ADMISSION PRO HOC VICE

       Pursuant to Criminal Local Rule 44.1 (c) & (d), Defendant Gabe Garcia moves for the

admission and appearance of attorney Maria Rodriguez pro hac vice in the above-captioned case.

This motion is supported by the Declaration of Ms. Rodriguez, filed herewith. As set forth in Ms.

Rodriguez’s declaration, she is admitted and an active member in good standing in the following

courts and bars for more than ten (10) years:


1. The State of Florida; and

2. United States District Court for the Middle District of Florida.


       This Motion is supported and signed by Robert L. Jenkins, Jr., an active and sponsoring

member of the Bar of this Court.


Respectfully submitted,
BYNUM & JENKINS LAW

By: /s/Robert L. Jenkins, Jr.
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